Case 1:18-cr-00669-JPO Document 192 Filed 11/09/20 Page 1of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA
WAIVER OF RIGHT TO BE
ve PRESENT AT CRIMINAL
PROCEEDING
Jeffrey Estevez , ———
Defendant. , 18 -CR- 669 UPO)

Check Proceeding that Applies

Xx

Date:

Entry of Plea of Guilty

fam aware that | have been charged with violations of federal law. | have consulted with
my attorney about those charges. | have decided that | wish to enter a plea of guilty to
certain charges. | understand | have a right to appear before a judge in a courtroom in
the Southern District of New York to enter my plea of guilty and to have my attorney
beside me as | do, | am also aware that the public health emergency created by the
COVID-19 pandemic has interfered with travel and restricted access to the federal
courthouse. | have discussed these issues with my attorney. By signing this document, |
wish to advise the court that | willingly give up my right to appear in person before the
judge to enter a plea of guilty. By signing this document, | also wish to advise the court
that | willingly give up any right | might have to have my attorney next to me as | enter my
plea so long as the following conditions are met. | want my attorney to be able to
participate in the proceeding and to be able to speak on my behalf during the proceeding.
| also want the ability to speak privately with my attorney at any time during the
proceeding iff wish todo so.

Jeffrey Estevez /s/ Jeffrey Estevez

Print Name Signature of Defendant

 

‘

Sentence

| understand that | have a right to appear before a judge in a courtroom in the Southern
District of New York at the time of my sentence and to speak directly in that courtroom
to the judge who will sentence me. | am also aware that the public health emergency
created by the COVID-19 pandemic has interfered with travel and restricted access to the
federal courthouse. | do not wish to wait until the end of this emergency to be sentenced.

 
Case 1:18-cr-00669-JPO Document 192 Filed 11/09/20 Page 2 of 2

| have discussed these issues with my attorney and willingly give up my right to be
present, at the time my sentence is imposed, in the courtroom with my attorney and the
judge who will impose that sentence. By signing this document, | wish to advise the court
that | willingly give up my right to appear in a courtroom in the Southern District of New
York for my sentencing proceeding as well as my right to have my attorney next to me at
the time of sentencing on the following conditions. | want my attorney to be able to
participate in the proceeding and to be able to speak on my behalf at the proceeding.

| also want the ability to speak privately with my attorney at any time during the
proceeding if | wish to do so.

Date:

 

 

Print Name Signature of Defendant

i hereby affirm that | am aware of my obligation to discuss with my client the charges against my

client, my client’s rights to attend and participate in the criminal proceedings encompassed by
_this waiver, and this waiver and consent form. t affirm that my client knowingly and voluntarily

consents to the procéedings being held with my client and me both participating remotely.

Date: Margaret M. Shalley {sf Margaret M. Shalley
Print Name Signature of Defense Counsel

 

 

Addendum for a defendant who requires services of an interpreter:

i used the services of an interpreter to discuss these issues with the defendant. The interpreter
also translated this document, in its entirety, to the defendant before the defendant signed it.
The interpreter’s name is:

 

Date:

 

Signature of Defense Counsel

Accepted:

 

Sidfature f f Judge

Date:)/ if 20 20

 

 
